UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA                              :
                                                      :   1:18-CR-00388-ER-1
        v.                                            :
                                                      :
ELIZABETH ANN PIERCE                                  :
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                            SENTENCING MEMORANDUM

       Ms. ELIZABETH ANN PIERCE respectfully submits the following

position on sentencing:

I.     Sentencing Guidelines

       The probation officer asserts that Ms. Pierce’s sentencing guidelines

range is 210–240 months of imprisonment, based on a total offense level of

37 and a criminal history category of I. (P.S.R. ¶¶ 57–68, 113.) The

Government agrees. (Id. add. at 32.) Ms. Pierce, however, submits that her

sentencing guidelines range is 30–37 months of imprisonment, based on a

total offense level of 19, and a criminal history category of I. Ms. Pierce and

the probation officer’s sentencing guidelines calculations differ regarding the

amount of loss (a 16-level difference) and whether the offense involved

sophisticated means (a 2-level difference).
      a.       Base Offense Level

      Ms. Pierce and the probation officer, pursuant to U.S.S.G. § 2B1.1(a)(1),

agree that the base offense level for the offense of conviction—Wire Fraud in

violation of 18 U.S.C. § 3143—is 7. (P.S.R. ¶ 59.)

      b.       Amount of Loss

      The probation officer, pursuant to U.S.S.G. § 2B1.1(b)(1)(O), asserts that

the amount of loss is more than $250MM, but less than $550MM, resulting in

a base offense level increase of 28-levels. (P.S.R. ¶ 60.) The probation officer

bases this assertion on the Government’s estimate of the aggregate amount of

investments by one victim entity in the approximate amount of $296MM, and

two victim individuals in the amount of $365,000. (P.S.R. ¶¶ 36–37, 41, 43,

add. at 32.)

      The amount of loss, for sentencing guidelines purposes, “is the greater

of actual loss or intended loss.” U.S.S.G. § 2B1.1, comment. (n.3(A)). Actual

loss is “the reasonably foreseeable pecuniary harm that resulted from the

offense” (Id. at (n.3(A)(i)), while intended loss is “the pecuniary harm that the

defendant purposefully sought to inflict” (Id. at (n.3(A)(ii)).

               1.   Actual Loss

      While Ms. Pierce agrees that she caused the victim entity to invest over



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$250MM variously in her company, she disagrees that the victim entity

suffered that amount of pecuniary harm. The victim entity’s investment was

not unsecured; not all of the forged contracts upon which it relied to invest

were worthless; the project into which it invested is progressing toward

completion; and Ms. Pierce’s company, a going concern with which she is no

longer associated, of course, is thriving. Therefore, Ms. Pierce submits that

the actual loss in this case is not the amount of money that the victim entity

invested in her company, but rather that amount less any realized or future

return on that investment, or the investment adjusted for present value, not

unlike credits against loss for collateral pledged (see Id. at (n.3(E)(ii)). While

Ms. Pierce will address this issue in detail at sentencing, she expects that the

actual loss in this case, equitably, will be limited to the pecuniary harm to the

victim individuals, which Ms. Pierce agrees is $365,000, resulting in a base

offense level increase of only 12 levels pursuant to U.S.S.G. § 2B1.1(B)(1)(G).

            2.     Intended Loss

      Ms. Pierce submits that she was one of the original co-founders of her

company (P.S.R. ¶ 16); she served as its chief executive officer from 2013–

2017 (P.S.R. ¶ 98); and she owns—although subject to forfeiture—a

substantial interest in it, estimated by the Government to be approximately



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$7MM (P.S.R. ¶ 102). There is no plausible argument, considering those

facts, that she purposefully sought to inflict any financial harm to the victim

entity or individuals: she sought to raise sufficient capital to complete her

company’s project, which would have allowed the company to pay everyone,

including herself, a profit. Therefore, the intended loss is $0.

      c.    Sophisticated Means

      The probation officer, pursuant to U.S.S.G. § 2B1.1(b)(10)(C), asserts

that the offense involved sophisticated means, resulting in a base offense

level increase of 2-levels. (P.S.R. ¶ 61.) In response to Ms. Pierce’s objection

to this assertion, the probation officer explains that the assertion is based on

Ms. Pierce’s having manufactured contracts, emails, and revenue projections

in an effort to execute and conceal the offense. (P.S.R. add. 32–33.)

      Ms. Pierce is familiar with the legal authority that the probation officer

cites in support of this often-overused specific offense characteristic that

various probation offices seem to recommend in almost every fraud case;

nonetheless, she maintains her position that her execution and concealment

of the offense was not “especially complex or especially intricate,” and

certainly is not analogous to the use of “fictitious entities, corporate shells, or

offshore financial accounts.” See U.S.S.G. § 2B1.1, comment. (n.9(B)). While



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Ms. Pierce wholeheartedly recognizes that only she is responsible for her

criminal conduct, the fact remains that her scheme was so rudimentary that

the victim entity, an experienced venture capital company, could have

discovered the fraud before investing any money by simply contacting the

purchaser parties in the forged contract and agreements in an effort to

confirm the authenticity of those documents.

      d.    Role in the Offense

      Ms. Pierce and the probation officer, pursuant to U.S.S.G. § 3B1.3,

agree that the base offense level should be adjusted upward 2 levels for Ms.

Pierce’s abusing a position of private trust, and Ms. Pierce withdraws her

objection to that adjustment. (P.S.R. ¶ 63.)

      e.    Acceptance of Responsibility

      Ms. Pierce and the probation officer, pursuant to U.S.S.G. § 3E1.1(a),

agree that the adjusted offense level should be adjusted downward 2 levels

for Ms. Pierce’s acceptance of responsibility for the offense. (P.S.R. ¶ 67.)

      f.    Sentencing Guidelines Range

      Ms. Pierce, based on her foregoing assertion, submits that her

sentencing guideline range should be 30–37 moths of imprisonment,




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exclusive of the mandatory consecutive two-year penalty pursuant to 18

U.S.C. § 1028A(b) and U.S.S.G. § 2B1.6.

II.   Sentencing Statute

      Ms. Pierce and the probation officer agree that a downward variance is

appropriate (P.S.R. add. 38); however, they disagree on the degree of that

variance based on their differing sentencing guidelines calculations. Ms.

Pierce will present evidence at sentencing in support of her position that a

sentence substantially below the sentencing guidelines range would be

“sufficient, but not greater than necessary, to comply with the purposes set

forth in [18 U.S.C. § 3553(a)(2)].” 18 U.S.C. § 3553(a).

      Date:       June 6, 2019

                                           Respectfully submitted,

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